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UNiTED STATES DISTRlCT COURT _ d)Qd/ §
FOR THE WESTERN DISTRICT OF TENNESSEE F“H“ F‘W -\ y y »»- U-‘J-
WESTERN DIVISION
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UNITES STATES OF AMERlCA, ;@§~“I"“‘ §:"- '~`§ '§§?§-§l§
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Plaintiff,
v. Cr. No. 05-20160-13

PH]LL[P STAFFORD,

Defendant.

 

ORDER GRANTING DEFENDANT’S
MOTION TO CONTINUE TRIAL

 

For good cause shown, the trial in this matter is hereby CONTINUED to the next trial

 

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Honorable J. Breen
US DISTRICT COURT

